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CSD 1160 [07/01/18] (Page 1 of 3)
Name, Address, Telephone No, & I.D. No.
Nicholas M. Wajda

11400 W. Olympic Blvd., Ste. 200

Los Angeles, CA 90064

(310) 997-0471

259178 CA

 

UNITED STATES BANKRUPTCY COURT
SOUTHERN DISTRICT oF CALIFORNIA
325 West F Street, San Diego, California 92161-6991

 

In Re
Jessie Brian Lawson

Jessica Dawn Hall BANKRUPTCY NO. 18-04485

 

Debtor.

AMENDMENT
Presented are the original and one conformed copy of the following [Check one or more boxes as appropriate]:

 

Li Voluntary Petition
Cr) Attachment to Chapter 11 Voluntary Petition for Non-Individuals
Lj Exhibit C: Attachment to Voluntary Petition B 1
CL) Summary of Schedules (Includes Statistical Summary of Certain Liabilities)
C) Summary of Your Assets and Liabilities and Certain Statistical Information
im Schedule of Real and/or Personal Property
CL Schedule of Property Claimed Exempt for Individuais
Oo Creditors Holding Claims Secured by Property, Creditors Who Have Unsecured Priority and/or Non-priority
Claims, and/or Matrix, and/or list of Creditors or Equity Holders - REQUIRES COMPLIANCE WITH LOCAL RULE
1008
L] Adding or deleting creditors (electronic media), changing amounts owed or classification of debt -
$31.00 fee required. See instructions on reverse side.
[_] Correcting or deleting cther information. See instructions on reverse side.
UT) Schedule of Executory Contracts & Expired Leases
LC] Schedule of Co-Debtor
he! Income of Individual Debtor(s)
[x Expenses of Individual Debtor(s)
Expenses for Separate Household of Debtor 2
L] Statement of Financial Affairs
LJ Chapter 7 Statement of Your Current Monthly Income
LJ Chapter 7 Statement of Exemption from Presumption of Abuse Under § 707(b)(2)
Cc] Chapter 7 Means Test Calculation
CJ Chapter 11 Statement of Your Current Monthly Income
CI Chapter 13 Statement of Current Monthly Income and Calculation of Commitment Period:
C] Chapter 13 Calculation of Your Disposable Income
Ch Other:
Dated: a 14, /: Zorg Signature Lo
Yo Attorfey for Debtor
CSD 1100

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CSD 1100 (Page 2 of 3) [N7y/alsis;
DECLARATION OF DEBTOR

| [We] _ Jessie Brian Lawson and Jessica Dawn Hall, the debtor(s), hereby declare under penalty of perjury
that the information set forth in the amendment attached hereto, consisting of 4 pages, and on the creditor matrix

     
 

electronic media, if any, is true and correct to the best of my [our] information and belief. oN
in ¥ . ne my . } “oe .
Dated: al [4/eore Cs nates Qyomoll Tous
fe *Debtor ; *Joint ebtor
“If filed electronically, pursuant to LAR 5005-4(C), the original debtor signature(s) in a sednned format is required.
INSTRUCTIONS
A, Each amended page is to be in the same form as the original but is to contain only the information to be changed or added.
Pages from the original document which are not affected by the change are hot to be attached.
1. Before each entry, specify the purpose of the amendment by inserting:
a. “ADDED, " if the information was missing from the previous document filed: or
b. "CORRECTED," if the information modifies previously listed information: or
Cc. “DELETED, " if previously listed information is to be removed.
2. At the bottom of each page, insert the word "AMENDED."
3. Attach all pages to the cover page and, ifa Chapter 7, 11, or 12 case, serve a copy on the United States Trustee,

trustee (if any) and/or the members of a creditors’ committee. if a Chapter 13 case, serve a copy on the trustee; BO
NOT serve a copy on the United States Trustee.
B. Comply with Local Bankruptcy Rule 1009 when adding or correcting the names and/or addresses of creditors (electronic
media required when Amendment submitted an paper) or if altering the status or amount of a claim,

Amendments that fail to follow these instructions may be refused.
“Amendments filed after the case is closed are not entitled to a refund of fees**

 

PROOF OF SERVICE

|, whose address appears below, certify:

That | am, and at all relevant times was, mare than 18 years of age:

| served a true copy of this Amendment on the following persons listed below by the mode of service shown below:
1. To Be Served by the Court via Notice of Electronic Filing (“NEF”):

Under controlling Local Bankruptcy Rules(s) (“LBR"), the documents} listed above will be served by the court via NEF anc
hypedink to the document, On a) jg ! checked the CM/ECF docket for this bankruptcy case or adversary proceeding and
determined that the following person(s) are on the Electronic Mail Notice List to receive NEF transmission at the e-mail address(es)

indicaied and/or as checked below:

Chapter 7 Trustee:

} For Copt 7.11, 8 32 casas For OOD numbered Chapter 13 casas. "For EVEN surnbercd fChapler 1 casos
UNITED STATES TRUSTEE THOMAS H. BILUAGSLEA, JR.. TRUSTEE. DAVID L SKELTON, TRUSTEE
ust remion 15@usdoj.qov Bilinslea Gthd.coxatwork cor admin gon 13 sdcaxrmail.com
uskelton 1 Send opiqsyslems.com
2. Served by United States Mail:

On —. | Served the following person(s) and/or entity(ies) at the last known address(es) in this bankruptcy case or
adversary proceeding by placing accurate copies in a sealed envelope in the United States Mail via 1) first class, postage prepaid or 2)
certified mail with receipt number, addressed as follows:

3. Served by Personal Delivery, Facsimile Transmission, Overnight Delivery, or Electronic Mait:
Under Fed.R.Civ.P.5 and controlling LBR, on _ , | served the folowing person(s) and/or entity(ies) by personal

delivery, or (for those who consented in writing to such service methad), by facsimile transmission, by overnight delivery, and/or
electronic mail as follows:

CSD 1100

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CSD 1100 (Page 3 of 3) [07/01/18]

 

 

| declare under penalty of perjury under the laws of the United States o America that the statements made in this proof of
service are true and correct.
Executed on U1 “ff Zoe ([ / aa
” i

 

(Date) Amy Vasque
Wajda Law Group, APC
Camino Del'Rio North., Ste. 400
San Diego, CA 92108
Address

CSD 1100

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Fillin this information to identif

Debtor 4 Jessie Brian Lawson

Debtor 2
(Spouss, if filing)

Jessica Dawn Hall

United States Bankruptcy Court for the:

Case number
{If known)

18-04485

SOUTHERN DISTRICT OF CALIFORNIA

Check if this is:
Ml An amended filing

 

Official Form 106|
Schedule |: Your Income

 

Oa supplement showing posipetition chapter
13 income as of the following date:

MM / DD/ YYYY
12H§

Be as complete and accurate as possible. If two married people are filing together (Debtor 1 and Debtor 2), both are equally responsible for
supplying correct information. If YOU are married and not filing jointly, and your spouse is living with you, include information about your
Spouse. If you are separated and your spouse is not filing with you, do not include information about your spouse. If more Space is needed,
attach a separate sheet to this form. On the top of any additional pages, write your name and case number (if known), Answer every question.

EZESEEEEE Describe Employment

1. Fillin your employment
information.

\f you have more than one job,
attach a separate page with
information about additional
employers.

Employment status

Occupation

Include part-time, seasonal, or '
self-employed work, Employer's name
Occupation may include student
or homemaker, if it applies.

Employer's address

How long employed there?

EEF AMEM Give Details About Monthly Income

Debtor 1 Debtor 2 or non-filing spouse

@ Employed 0 Employed

CD Not employed B Not employed

Welder Homemaker

West Coast Air

1155 Pioneer Way #101
El Cajon, CA 92020

10 years

Estimate monthly income as of the date you file this form. If you have nothing to report for any line, write $0 in the Space. Include your non-filing

Spouse unless you are separated.

If you or your non-filing spouse have more than one employer, combine the information for all employers for that person on the lines below. If you need

More Space, attach a separate sheet to this form.

3. Estimate and list monthiy overtime pay.

4. Calculate gross Income. Add line 2 + line 3.

Official Form 106!

List monthly gross wages, salary, and commissions (before all payroll
deductions). If not paid monthly, calculate what the monthly wage would be. 2. $

 

 

 

 

 

 

 

 

For Bebtor 1 For Debtor 2 or
non-filing spouse
Cogexerep
10,873.26 ¢ 0.00
3. +$ 0.00 +% 0.00
4.13 410,873.26 $ 0.00 |
Coagntconet,

Amor

Schedule I: Your Income page |
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Debtor 1 Jessie Brian Lawson

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

     

 

 

  

Debtor2 Jessica Dawn Hall Case number (irknown) 18-04485
For Debtor 1 For Debtor 2 or
non-filing spouse
Copy tine 4 here 4 3 10,873.26 § 0.00 Coteccrety
5. List all payroll deductions:
5a. Tax, Medicare, and Social Security deductions Sa. $ 1,825.58 §$ 0.00 CorRccren
5b. Mandatory contributions for retirement plans 5b. § 0.00 §$ 0.00 Co mcerety
5¢, Voluntary contributions for retirement plans Sc. § 0.00 $ 0.00
Sd. Required repayments of retirement fund loans 5d. $ 606.67 $ 0.00 CoRReAEH
Se. Insurance Se. $ 467.35 $ 0.00
5f. Domestic support obligations Sf 6 $ 0.00 $ 0.00
5g. Union dues 5g. $ 287.12 § 0.00
sh. Other deductions. Specify: Sh.+ § 0.00 + $ 0.00
§. Add the payroll deductions. Add lines SatSb+5c+$d+5e+5f+5g+5h. 6 § 3,186.72 $ 0.00 CoRRetxep
Calculate total monthly take-home pay. Subtract line 6 from line 4, 7. § 7,686.54 $ 0.00 CxeRezrep
8. List all other income regularly received:
8a. Net income from rental property and from operating a business,
profession, or farm
Attach a statement for each property and business showing gross
receipts, ordinary and necessary business expenses, and the total
monthly net income. 8a. $ 0.00 $ 0.00
8b. Interest and dividends &b. $ 0.00 $ 0.00
8c. Family support payments that you, a non-filing spouse, or a dependent
regularly receive
Include alimony, spousal support, child support, maintenance, divorce
settlement, and property settlement. 8. §$ 0.00 ¢$ 0.00
8d, Unemployment compensation éd.  $ 0.00 ¢$ 0.00
8e. Social Security Be. § 0.00 $ 0.00
§f. Other government assistance that you regularly receive
Include cash assistance and the value (if known) of any non-cash assistance
that you receive, such as food stamps (benefits under the Supplemental
Nutrition Assistance Program) or housing subsidies,
Specify: Sf. §$ 0.00 §$ 0.00
89. Pension or retirement income &g. §$ 0.00 ¢ 0.00
8h. Other monthly income. Specify: Bht+ § 0.00 + $ 0.00
9. Add all other income, Add lines 8a+8b+8c+8d+Be+8f+8g+8h, 9. |$ 0.00; (|$ 0.00
10. Calculate monthly income. Add line 7 + line 9, 10. |$ 7,686.54 | +1 $ 0.00 | =|$ 7,686.54
Add the entries in line 10 for Debtor 4 and Debtor 2 or non-filing spouse.
11. State all other regular contributions to the expenses that you list in Schedule J. CORRK FET
Include contributions from an unmarried partner, members of your household, your dependents, your roommates, and
other friends or relatives,
Deo not include any ameunts already included in tines 2-10 or amounts that are not available to Pay expenses listed in Schedule J.
Specify: 11. +§ 0.00
12. Add the amount in the last column of line 10 to the amount in line 11. The result is the combined monthly income.
Write that amount on the Summary of Schedules and Statistical Summary of Certain Liabilities and Related Data, if it
applies 12. 7,686.54
Combined
monthly income
13.

Do you expect an increase or decrease within the year after you file this form?
No.

o Yes. Explain: L |

 

Amanven

Official Form 1061 Schedule I: Your income page 2
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Fillin this information to identify your case:

 

 

 

Debtor 4 Jessie Brian Lawson Check if this Is:

Mm An amended filing
Debtor 2 Jessica Dawn Hal CO Asupplement showing posipetition chapter
(Spouse, if filing) 13 expenses as of the following date:
United States Bankruptcy Court for the: SQUTHERN DISTRICT OF CALIFORNIA MM /DD/YYYY

 

Casenumber 4§.04485
{If known)

 

 

 

Official Form 106J
Schedule J: Your Expenses 41215

 

G0SERE Describe Your Household

1. Is this a joint case?
CI No. Go to line 2.
@ Yes. Does Debtor 2 live in a separate household?
No
C Yes. Debtor 2 must file Official Form 106J-2, Expenses for Separate Household of Debtor 2.
2. Do you have dependents? No

 

 

 

De not list Debtor 1 and Byes. Fill out this information for Dependent’s relationship to Dependent’s Does dependent
Debtor 2. es. each dependent.............. Debtor 4 or Debtor 2 age live with you?
SE TMI ENTERS
Do not state the CL) No
dependents names. Son 6 Yes
[No
Daughter 7 Byes
OiNo
Son 17 || Yes
OO No
Daughter 23 Byes DED

 

3. Do your expenses include BINo
expenses of people other than Oo
yourself and your dependents? Yes

GEER Estimate Your Ongoing Monthly Expenses

Estimate your expenses as of your bankruptcy filing date unless you are using this form as a supplement in a Chapter 13 case to report

expenses as of a date after the bankruptcy is filed. If this is a supplemental Schedule J, check the box at the top of the form and fill in the
applicable date.

Include expenses paid for with non-cash government assistance if you know
the value of such assistance and have included it on Schedule [- Your Income
(Official Form 1061.) . Your expenses

   

4, The rental or home ownership expenses for your residence, include first mortgage 0
payments and any rent for the ground or tot. 4.3 2,500.00

 

If not included in line 4:

 

 

 

 

4a. Real estate taxes 4a. § 0.00
4b. Property, homeowner's, or renter's insurance 4b. $ 20.00
4c. Home maintenance, tepair, and upkeep expenses 4c. §$ 0.00
4d. Homeowner's association or condominium dues 4d. §$ 0.00
5. Additional mortgage payments for your residence, such as home equity loans 5. $ 0.00

 

AMinnes

Officiat Form 106J Schedule J: Your Expenses page 1
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Debtor? Jessie Brian Lawson

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

Debtor? Jessica Dawn Hall Case number (if known) 18-04485
6. Utilities:

6a. Electricity, heat, natural gas Ga, $ 405.00

6b. Water, sewer, garbage collection 6b. $ 202.00

Sc. Telephone, cell phone, Internet, satellite, and cable services 6c. $ 400.00

6d. Other. Specify: 6d. $ 0.00
7. Food and housekeeping supplies 7. $ 1,050.00
8. Childcare and children’s education costs 8. $ 0.00
9. Clothing, laundry, and dry cleaning 9. $ 100.00
10. Personal care products and services 10. $ 125.00
11. Medical and dental expenses 11. $ 260.00
12. Ss fon. Include gas, maintenance, bus or train fare.

Do not ncude vargas Tarteranc, bus or 28 1,200.0
13. Entertainment, clubs, recreation, newspapers, magazines, and books 13. $ 50.00
14. Charitable contributions and religious donations 14. §$ 0.00
15. Insurance.

Do not include insurance deducted from your pay or included in lines 4 or 20.

15a. Life insurance 15a. $ 0.00

15b. Heaith insurance 15b. §$ 0.00

15c. Vehicle insurance 15c. $ 350.00

15d. Other insurance. Specify: 16d. $ 0.00
16. Taxes. Do not include taxes deducted from your pay or included in lines 4 or 20,

Specify: 16. $ 0.00
17. Installment or lease payments:

17a. Car payments for Vehicle 1 17a. $ 0.00

17b. Car payments for Vehicle 2 17b. $ 0.00

17c, Other. Specify: 17c. §$ 0.00

17d. Other. Specify: 17d. § 0.00
18. Your payments of alimony, maintenance, and support that you did not report as

deducted from your pay on line 5, Schedule I, Your income (Official Form 1061). 18. $ 0.00
19. Other payments you make to support others who do not live with you. $ 0.00

Specify: 19.

20. Other real Property expenses not included in tines 4 or 5 of this form or on Schedule i: Your income.

20a. Mortgages on other Property 20a. $ 0.00

20b. Real estate taxes 20b. $ 0.00

20c. Property, homeowner's, or renter's insurance 20c. $ 0.00

20d. Maintenance, repair, and upkeep expenses 20d. § 0.00

20e. Homeowner's association or condominium dues 20e. $ 0.00
21. Other: Specify: Contingency 21. +§ 100.00
22. Calculate your monthly expenses

22a. Add lines 4 through 21. $ 6,762.00

22b. Copy line 22 {monthly expenses for Debtor 2), if any, from Official Form 106J-2 $

22c. Add line 22a and 22b. The result is your monthly expenses, $ 6,762.06
23. Calculate your monthly net income.

23a. Copy line 12 (your combined monthly income) from Schedule I, 23a, $ 7,686.54 CoRRSCTEDB

23b. Copy your monthly expenses from line 22c above. 23b, -$ 6,762.00

 

 

23¢. Subtract your monthly expenses from your monthly income.

The result is your monthly net income. 23c. [$ 224.54 | cork

24. Do you expect an increase or decrease in your expenses within the year after you file this form?

For example, do you expect to finish Paying for your car loan within the year or do you expect your mortgage Payment to increase or decrease because of a
modification to the terms of your mortgage?

Bo.
0 Yes. | Explain here: |

 

 

Official Form 106J Schedule J: Your Expenses page 2
